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                                                     April 4, 2018


 Via ECF and by Fax

 The Honorable Naomi Reice Buchwald
 United States District Court for the
 Southern District of New York
 500 Pearl Street, Room 2270
 New York, NY 10007-1312

          Re:        Knight First Amendment Institute, et al. v. Trump,
                     et al., Case No. 17-CV-5205 (NRB)

 Dear Judge Buchwald,

         Plaintiffs write in response to the Court’s order of March 13, 2018
 and in reply to the government’s letter of March 28, 2018. The government
 contends that the First Amendment would not prohibit the government from
 blocking individuals from @POTUS and @WhiteHouse on the basis of
 viewpoint. It further argues that even if viewpoint-based blocking from
 those accounts would infringe the First Amendment, viewpoint-based
 blocking from @realDonaldTrump does not. The government’s arguments
 are unconvincing.

         First, the government errs in contending that the public forum
 doctrine is inapplicable to @POTUS, @WhiteHouse, and
 @realDonaldTrump. The government argues that comments posted by
 private citizens on these accounts do not occur “on” or “through” a
 government-controlled space, but this is wrong. As the record in this case
 shows, replies to the President’s tweets appear in comment threads below
 the President’s tweets. Stip. ¶¶ 22-23. By blocking an individual from his
 account, the President prevents that individual’s replies from appearing in
 the comment threads. Id. ¶¶ 28, 54. In other words, when the President
 blocks an individual from his account, he blocks that individual from a
 government-controlled space that has been opened up to the public at large
 for expression. This is why @realDonaldTrump is properly considered a
 public forum, and why @POTUS and @Whitehouse should be considered
 public forums, too.

        The government is also wrong to argue that the President’s blocking
 of an individual does not “generally” have the effect of excluding that



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 individual from the forum. Again, those who are blocked from
 @realDonaldTrump cannot reply directly to the President’s tweets, which
 means that their direct replies will not appear in the comment threads below
 the President’s tweets—or anywhere else on Twitter.1 The government
 points out that blocked users are not prevented from posting tweets about
 the President’s tweets—so long as they are willing to take additional steps
 to access the President’s tweets, id. ¶¶ 55, 58, 60. The important point,
 however, is that blocked users are prevented from speaking in the relevant
 forum—that is, in the comment threads associated with
 @realDonaldTrump. Id. ¶¶ 54, 58, 60. Likewise, it is a distraction to focus,
 as the government does, on the fact that blocked users can—with effort, id.
 ¶¶57-58—reply to other individuals’ replies to the President, because the
 important fact is that they are prevented from replying directly to the
 President. The government cannot dispute that blocking a user prevents that
 user from participating fully and on equal terms with users who have not
 been blocked.

        Second, the government errs in arguing that even if viewpoint-based
 blocking on @POTUS and @WhiteHouse violated the First Amendment,
 such blocking on @realDonaldTrump would not. In support of this
 argument, the government primarily reiterates its assertion that
 @realDonaldTrump is a “personal” account not subject to the First
 Amendment. As the record shows, however, President Trump uses the
 @realDonaldTrump account as an official instrument of his presidency,2
 and indeed the government has used the account interchangeably with
 @POTUS and @WhiteHouse.

         Finally, the government incorrectly suggests that applying the
 public forum doctrine to the @realDonaldTrump account would infringe on
 the President’s associational rights. Public officials who preside over
 designated public forums do not have an “associational right” not to interact
 with people in that forum. The government does not cite any authority in
 support of its argument, nor could it. Nor does the mere fact that a forum

 1
   The government’s assertion that if one of the President’s tweets were deleted,
 “the responses to the deleted tweet would be unaffected,” Gov’t Ltr. at 2, is
 nonsensical because an individual who has been blocked cannot reply to the
 original tweet in the first place.
 2
   In addition to the evidence of official use in the Stipulation, in the past few weeks
 alone the President has used the account to dismiss and replace two cabinet
 members. See Peter Baker, et al., Trump Fires Rex Tillerson and Will Replace Him
 with     CIA      Chief     Pompeo,       N.Y.      Times      (Mar.      13,     2018),
 https://www.nytimes.com/2018/03/13/us/politics/trump-tillerson-pompeo.html;
 Donovan Slack, Veterans Affairs Secretary David Shulkin Is Out, Trump
 Announces         by     Tweet,      USA         Today       (Mar.       28,      2018),
 https://www.usatoday.com/story/news/politics/2018/03/28/david-shulkin-
 veterans-affairs-secretary-forced-out-john-kelly/346741002/.


                                            2
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 includes speech by government officials mean that the forum as a whole is
 “government speech.” Gov’t Ltr. at 4.3 The record shows that the
 @realDonaldTrump account is a designated public forum open to speech
 by the general public, and that the President acts as a gatekeeper to that
 forum. His viewpoint-based blocking in that forum violates the First
 Amendment.

                                           Respectfully,

                                   /s/ Jameel Jaffer
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 3
   Notably, none of the cases cited by the government for its novel argument that
 public officials’ “right not to associate” trumps the rights of citizens to speak in a
 public forum in fact involved claims of a public forum. See X-Men Sec., Inc. v.
 Pataki, 196 F.3d 56, 70 (2d Cir. 1999); Miller v. Town of Hull, Mass., 878 F.2d
 523, 532 (1st Cir. 1989); Cal. Democratic Party v. Jones, 530 U.S. 567, 574
 (2000); Bond v. Floyd, 385 U.S. 116, 136 (1966); The Baltimore Sun Co. v.
 Ehrlich, 437 F.3d 410, 418 (4th Cir. 2006).


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